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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUSTIN TAYLOR,                                         )
                                                       )
                                       Plaintiff,      )       12 cv 01694
                                                       )
v.                                                     )       Assigned Judge:
                                                       )       Robert W. Gettleman
REGIONAL ACCEPTANCE CORP.,                             )
                                                       )       Designated Magistrate Judge:
                                       Defendants.     )       Sheila M. Finnegan


                                STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED by plaintiff Justin Taylor (“plaintiff”),

and defendant Regional Acceptance Corp. (“Regional Acceptance”), through their respective

counsel, that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii): (a) plaintiff’s individual claims against

Regional are hereby dismissed without prejudice with leave to reinstate by May 31, 2012 after

which the dismissal will be with prejudice; (b) the claims of the members of the putative classes

identified in the Complaint and in the Motion for Class Certification are hereby dismissed

without prejudice and without notice to the putative classes; and (c) each party shall bear his, her,

or its own costs and expenses, including attorneys’ fees (except as otherwise agreed to by the

parties).

/s/ Keith J. Keogh                                         /S/ /s/John F. Costello, Jr.

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Dated: May 10, 2012
